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                          IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF PENNSYLVANIA

    SOMMER MILLER
                           Plaintiff,
                  v.                                            CIVIL ACTION NO. 21-619

    THE CITY OF PHILADELPHIA, et al.,
                           Defendants.

                                                   ORDER

        AND NOW, this 16th day of June 2021, it is hereby ORDERED that the case is referred

to Magistrate Judge Carol Sandra Moore Wells for a settlement conference on July 29, 2021 at

10:00 A.M. 1 The parties and/or persons with full authority to settle must participate unless

excused in advance by Judge Wells.

        It is so ORDERED.

                                                                 BY THE COURT:

                                                                 /s/ Cynthia M. Rufe

                                                                 CYNTHIA M. RUFE, J.




1
 The parties, with permission from Magistrate Judge Wells, may modify the settlement conference date by up to 14
days without seeking permission from this Court.
